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REVIEW ARTICLE




The impact of suppressing puberty on neuropsychological
function: A review

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Neurology, London, UK                                Abstract
                                                     Aim: Concerns have been raised regarding the impact of medications that interrupt
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Sallie Baxendale, National Hospital for              puberty, given the magnitude and complexity of changes that occur in brain function
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                                                     and structure during this sensitive window of neurodevelopment. This review exam-
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Email: s.baxendale@ucl.ac.uk                         ines the literature on the impact of pubertal suppression on cognitive and behavioural
                                                     function in animals and humans.
                                                     Methods: All studies reporting cognitive impacts of treatment with GnRH agonists/
                                                     antagonists for pubertal suppression in animals or humans were sought via a sys-
                                                     tematic search strategy across the PubMed, Embase, Web of Science and PsycINFO
                                                     databases.
                                                     Results: Sixteen studies were identified. In mammals, the neuropsychological impacts
                                                     of puberty blockers are complex and often sex specific (n = 11 studies). There is no
                                                     evidence that cognitive effects are fully reversible following discontinuation of treat-
                                                     ment. No human studies have systematically explored the impact of these treatments
                                                     on neuropsychological function with an adequate baseline and follow-­up. There is
                                                     some evidence of a detrimental impact of pubertal suppression on IQ in children.
                                                     Conclusion: Critical questions remain unanswered regarding the nature, extent and
                                                     permanence of any arrested development of cognitive function associated with pu-
                                                     berty blockers. The impact of puberal suppression on measures of neuropsychological
                                                     function is an urgent research priority.

                                                     KEYWORDS
                                                     gonadotropin-­releasing hormone (GnRH), intelligence, memory, puberty, cognition,
                                                     neurodevelopment, review




1    |    I NTRO D U C TI O N                                                            gender-­affirming model of care.1 The medications most commonly
                                                                                         used to suppress puberty are gonadotropin-­
                                                                                                                                   releasing hormone
Puberty blockers and cross sex hormones are prescribed to                                (GnRH) agonists or antagonists. The number of young people seeking
transgender and gender diverse (TGD) young people with the aim                           gender-­affirming treatments has grown significantly over the past
of aligning physical appearance with gender identity, as part of a                       10 years. 2,3 Data from the Gender Identity Development Service


Abbreviations: GnRH, Gonadotropin hormone-­releasing hormone; GnRHa, GNRH agonists/antagonists; IQ, Intelligence Quotient; TGD, Transgender and Gender Diverse; GIDS, Gender
Identity Development Service; MRI, Magnetic Resonance Imaging; fMRI, Functional Magnetic Resonance Imaging; CPP, Central Precocious Puberty.


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(GIDS) in the United Kingdom indicate an over 3000% increase in
referrals to the service over an 8-­year period from 2009 to 2016.
                                                                                    Key notes
This increase was most marked in females and adolescent females in
particular, where the numbers increased by more than 7000% over                     • Adolescence is a critical window of neurodevelopment
the 7-­year period.                                                                   and puberty plays a critical role in these neurodevelop-
        Given the magnitude and complexity of changes that occur in                   mental processes.
brain function and structure during puberty,      4,5
                                                        concerns have been          • The suppression of puberty impacts brain structure
raised regarding the impact of medications that interrupt and inter-                  and the development of social and cognitive functions
fere with this process during this important period of neurodevel-                    in mammals, the effects are complex and often sex
            6
opment. In a statement of expert consensus from 24 international                      specific.
specialists (in neurodevelopment, gender development, puberty,                      • No human studies have systematically explored the
neuroendocrinology and research methods), the impact of puber-                        neuropsychological impact of pubertal suppression in
tal suppression on different aspects of neuropsychological function                   transgender adolescents with an adequate baseline and
comprised the majority of research priorities identified, with nine                   follow-­up, this is an urgent research priority.
of the 17 priorities related to possible neuropsychological impacts,
namely, effects on executive function, social awareness, functional
connectivity, brain structure/volume, emotional awareness, IQ, risk-­          inputs.10 A period is defined as a ‘critical window’ if the brain
taking, processing speed and memory.6                                          requires a specific input to allow for the optimal development of a
        Unsurprisingly, given the critical role of puberty in the develop-     particular function (e.g. exposure to language or visual stimuli). If the
ment of the brain's anterior regions including the prefrontal cortex,4         neural network is left without the correct input or stimulation, the
the study of executive functions/control and attention topped the              functions served by that circuit will be permanently compromised.11
list of neuropsychological priorities for future research. The expres-         Essential inputs may be internal, for example, hormonal or
sion of GnRH receptors outside the reproductive axis in brain areas            nutritional state,12 and external, for example, the presence/absence
such as the hippocampus and amygdala also highlights learning,                 of environmental stimuli.13 Neural networks that develop in
memory and emotional processing as relevant areas of neuropsy-                 impoverished environments during sensitive periods can sometimes
                                                               7–9
chological interest in outcome studies in these patients.                      be remoulded by subsequent experiences in later life, although
        The first part of this paper summarises our contemporary un-           function may always remain suboptimal.13,14 Windows of plasticity
derstanding of puberty from a neuropsychological perspective as                for neurodevelopment are staggered throughout development (from
the driver of a sensitive ‘window of opportunity’ for the develop-             birth to the third decade of life) and follow a set pattern with sensory
ment of executive functions and social cognition. A brief overview             pathways (vision, hearing) prioritised in infancy, followed by motor
of our current state of knowledge regarding of the role of pubertal            and language functions in early childhood. Adolescence is a critical
hormones in the functional and structural brain changes that occur             window of development for executive functions (behavioural and
during adolescence is presented. This literature provides the med-             cognitive) and social cognition.15
ical and scientific rationale for neuropsychological outcomes to be
included as an essential component of any evaluation of outcome
following pharmacological interventions that suppress or delay pu-             1.2 | Adolescence: A critical period for synaptic
berty in adolescents.                                                          pruning & myelination
        Since the current neuropsychological literature is not sufficient
to allow for a more precise systematic review,3 the second part of             The approximate 100 trillion synaptic connections that subserve
the manuscript presents a scoping review of the literature that has            normal adult function do not develop in a linear fashion. Brain
examined the impact of pubertal suppression on cognitive/neuro-                development involves both progressive (proliferation, neurite
psychological function in both animal and human studies. For clarity           outgrowth, synapse connectivity) and regressive events (cell death,
and consistency, in this review, trans women/girls are referred to as          axon pruning, synapse elimination).16 The regressive events are
male-­to-­female and trans men/boys as female-­to-­male.                       just as much an integral part of the brain maturation process as the
                                                                               progressive processes. Approximately half of the neurons formed
                                                                               during brain development do not survive into adulthood, with most
1.1 | Puberty as a critical window in                                          eliminated via apoptosis or other forms of programmed cell death in
neurodevelopment                                                               utero or early childhood. Just as some cells are programmed to die
                                                                               once they have served their purpose in neurodevelopment, similarly
The        concept    of   critical   ‘windows’   of     plasticity   during   the brain is programmed to eliminate initially over-­
                                                                                                                                   produced
neurodevelopment refers to specific periods in infancy, childhood              synapses,17 a process known as pruning. During childhood, neurons
and adolescence when the developing brain is programmed to                     enthusiastically establish trillions of synaptic connections as the
generate dedicated neuronal networks in response to environmental              individual learns how the world works and their place and agency
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within it. Dendritic spine density in childhood is three times greater    Other behavioural manifestations of the rewiring process in puberty
                                             18
than that seen in adults prior to puberty.        It is now recognised    include enhanced reactivity to social and emotional stimuli, espe-
that substantial pruning continues well beyond adolescence and            cially in relation to peers, and changes in the evaluation of potential
into the third decade of life before stabilising at the adult level.18    rewards.4,15,28–33 The male and female brain develops differently
However, not all changes in the adolescent brain are regressive.          during adolescence both in terms of structural connectivity and de-
Although myelination begins in utero and continues into adulthood,        velopmental trajectory.
myelin production escalates significantly during adolescence,                 Completely reversible neuropsychological effects would not
with biological sex being a significant determinant, particularly in      be predicted given our current understanding of the ‘windows of
females,19 resulting in significant increases in both the speed of        opportunity’ model of neurodevelopment. If neuropsychological
electrical transmission along axons and the energy efficiency of this     deficits associated with puberty blockers were completely revers-
process.                                                                  ible, it would mean that puberty is very different from the other
   Biological sex is not just a significant determinant of myelin dis-    pre-­programmed windows of opportunity in neuropsychological de-
tribution. A review of MRI studies of male and female brain structure     velopment and any literature supporting this would present a signif-
found that adolescence was a time of divergence in the structural         icant challenge to our current understanding of neurodevelopment.
characteristics of the brain. 20 Unsurprisingly, sex differences in       It was the apparent incongruity between claims of full reversibility
structures with a high density of sex steroid receptors such as the       in the TDG literature and the neuropsychological puberty literature
caudate nucleus, amygdala, hippocampus, and cerebellum have been          that prompted this review.
reported. These differences are dynamic and change over the course
of development during adolescence. Regional cortical grey matter
volumes follow an inverted U-­shaped developmental trajectory with        2   |   LITE R AT U R E R E V I E W
peak size occurring 1–3 years earlier in females compared to males.
While white matter volumes increase throughout adolescence in             2.1 | Methods
both sexes, this process occurs more rapidly in adolescent males re-
sulting in an increasing magnitude of sex differences. 20                 2.1.1 | Search strategy and selection criteria

                                                                          All studies reporting neuropsychological, neurobehavioral or
1.3 | The role of puberty versus chronological age                        cognitive impacts of GnRH analogues in pubertal suppression in
in neurodevelopment in adolescence                                        animals or humans were sought in the initial search. Searches were
                                                                          conducted on PubMed, Embase, Web of Science and PsycINFO
Hormonal changes in puberty are not just responsible for the              in April 2023 using the following terms: ‘GnRH*’ or ‘Lupron’ AND
development of physical secondary sex characteristics; they also          ‘Pubert*’ and any of the following neuropsychological terms:
drive many of the neurodevelopmental changes in the adolescent            Cogniti*, OR Neuropsychol*, OR ‘Executive’, OR ‘Language’, OR
brain described above, particularly with respect to the development       ‘Memory’, OR ‘Learning’, OR ‘Spatial’, OR ‘Intelligence’, OR ‘IQ’, OR
of frontal cortical circuits, and hippocampal and amygdala                ‘Processing’, OR ‘Attention’, OR ‘Social’. The search was limited to
connectivity. 21–24 In a functional MRI study of 105, 8–19 year           English language publications.
olds, Ravindranath et al. found that while chronological age was              Excluding duplicates, the search strategy returned a total of 646
associated with activations in the right dorsolateral prefrontal cortex   papers across the four search engines for initial review: See Figure 1
on a task requiring inhibitory control, puberty stage was associated      for PRISMA flow diagram.
with activation in the right ventrolateral prefrontal cortex. Metrics         Review articles, book chapters and conference proceedings were
of broader connectivity between the ventrolateral prefrontal cortex       excluded from the review. The remaining abstracts (n = 498) were
and cingulate were also associated with puberty stage. The authors        reviewed for reports of measures of cognitive, neurobehavioural
conclude that while age-­
                        related developmental processes may               or neuropsychological function assessed on standardised tests
support maturation of brain systems underlying the ability to inhibit     and described in relation to the administration of GnRH analogues
a response, processes associated with puberty may play a larger role      for puberty suppression in either clinical or experimental settings.
in the effectiveness of generating cognitive control responses. 22        Forty-­t wo records met these criteria and the full text was reviewed.
   In summary, puberty is characterised by both regressive and pro-       Citation searching in these publications revealed a further possible
gressive stages of brain development. Unlike earlier developmental        10 citations for review.
milestones, many of these processes are associated with pubertal              Since the focus of the review was on neuropsychological func-
stage rather than chronological age22,25–27 and hormonal regulation       tion, papers were included if they reported any quantified measure
plays an important part in these developments. The prefrontal cor-        of cognitive function assessed on standardised neuropsychological
tex undergoes significant rewiring during puberty, with correspond-       measures or psychometric tests (or the equivalent in animal stud-
ing behavioural changes in associated executive functions including       ies). Papers that reported outcomes measured via questionnaires or
impulse control, decision-­
                          making and goal-­
                                          directed behaviours.            checklists (in humans) or self-­reported measures of function were
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                                      Identification of studies via databases and registers                                     Identification of studies via other methods


                         Records identified from 4
                                                                   Records removed before screening:
    Identification



                            Databases (n = 808)
                                                                      Duplicate records removed (n =         Records identified from:
                            PsychInfo (n=40)                          162)
                            Embase (n=237)                            Records marked as ineligible by           Citation searching (n = 11)
                            Web of Science (n=454)                    automation tools
                            Pubmed (n=77)                             (Book chapters n = 9)
                                                                      (Review papers n=124)
                                                                      Conference proceedings (n =15)



                         Records screened by abstract                   Records excluded by hand**
                         (n = 498)                                      (n = 456)




                         Reports sought for retrieval                                                                                                        Reports not retrieved
                                                                        Reports not retrieved                Reports sought for retrieval
                         (n = 42)                                                                                                                               Published in German (n = 1)
                                                                        (n = 0)                              (n = 11)
    Screening




                         Reports assessed for eligibility                  Reports excluded: N=26            Reports assessed for eligibility
                         (n = 42)                                                                            (n = 10 )                                       Reports excluded:
                                                                           No neuropsychological test                                                           Not relevant (n = 5)
                                                                           scores reported/ GnRAa not                                                           Conference abstracts (n=5)
                                                                           administered during puberty
     Included




                         Studies included in review
                         n = 16




F I G U R E 1 PRISMA flow diagram for systematic reviews which included searches of databases, registers and other sources: Search terms:
GnRH*’ or ‘Lupron’ AND ‘Pubert*’ and any of the following Neuropsychological Terms: Cogniti*, OR Neuropsychol*, OR ‘Executive’, OR
‘Language’, OR ‘Memory’, OR ‘Learning’, OR ‘Spatial’, OR ‘Intelligence’, OR ‘IQ’, OR ‘Processing’, OR ‘Attention’, OR ‘Social’.


excluded. Papers that described psychological, psychosocial or psy-                                      controls.7,8,34–39 Two studies in monkeys40,41 and one mouse study42
chiatric outcomes were also excluded.                                                                    were also identified. Measures of brain structure were reported in
                                                                                                         five studies and included structural MRI, resting state functional
                                                                                                         MRI and histopathology (see Table 1).
3                    |   R E S U LT S                                                                       The behavioural and cognitive measures used in these animal
                                                                                                         studies can be broadly divided into three categories:
A number of relevant studies have been presented at conferences                                             1. Positive interactions with the environment (e.g. locomotion,
but have not subsequently been published in peer-­reviewed journal                                       food acquisition, preferences for novel objects, hyponeophagia, so-
articles. Sixteen peer-­
                       reviewed studies that have examined the                                           cial preferences);
impact of suppressing puberty with GnRH analogues on cognitive,                                             2. Responses to stress (responses to social isolation, vocalisa-
neurobehavioral (animals) or neuropsychological function were                                            tions, emotional reactivity, forced swim test, human intruder test,
identified with the search strategy described. The majority of these                                     manifestations of social status);
studies (n = 11) have been conducted in animals.                                                            3. Performance on cognitive tasks (maze tasks).
                                                                                                            As can be seen in Table 1, the results from these studies indicate
                                                                                                         that treatment with a GnRH antagonist/agonist has a detrimental
3.1 | Animal studies                                                                                     impact on learning and the development of social behaviours and re-
                                                                                                         sponses to stress in mammals.7,8,34–36,38,39,41,42 Sex-­specific effects
The wider search strategy identified experimental studies on                                             were observed in multiple studies.8,37,42 In male sheep, impairments
the physiological impacts of GnRH blockade in 17 species of                                              in spatial memory associated with the treatment were not fully re-
animals (including hyenas, sheep, goats, rats, naked mole rats,                                          versed following discontinuation of treatment.39 Significant effects
giant pouched rats, mice, hamsters, macaques, rhesus monkeys,                                            of treatment were also evident on measures of brain structure in-
marmoset monkeys, carp, gilt, chicken, pigs, cows and dogs). Eleven                                      cluding overall volume,41 functional connectivity40 and neuronal
of these studies reported the impact of pharmacological puberty                                          density.42
suppression on indices of behavioural function in the animal. These                                         The results from these studies are broadly consistent and indi-
studies are summarised in Table 1. The majority of these studies                                         cate that the suppression of puberty impacts brain structure and the
(n = 8) have been conducted in the same flock of sheep using twin                                        development of social and cognitive functions in mammals, but the
              TA B L E 1 Animal studies examining the impact of GnRHa treatment on neuropsychological function or brain–behaviour relationships.

                                                                                                                                            Behavioural/cognitive                      Structural brain
                                                         Animal Model               Study design                                            domain assessed                            analyses                                Main finding
                                                                                                                                                                                                                                                                                                                                                   BAXENDALE




                1       Wojnius et al.                   Male & female              N = 48 same sex twin pairs                              Food acquisition task                      n/a                                     Results: Significant sex vs. treatment effects Treated males were more
                          (2011)                            sheep                   GnRHa treated group (twin 1) vs.                                                                                                              likely to leave their companions to acquire food than untreated
                                                                                        untreated controls (twin 2)                                                                                                               males, while the opposite effect was observed in females
                                                                                                                                                                                                                               Conclusion: Long-­term prepubertal GnRHa treatment significantly
                                                                                                                                                                                                                                  affected sex-­specific brain development, which impacted emotion
                                                                                                                                                                                                                                  and behaviour regulation in sheep. These results suggest that GnRH
                                                                                                                                                                                                                                  is a modulator of cognitive function in the developing brain and that
                                                                                                                                                                                                                                  the sexes are differentially affected by GnRH modulation
                2       Evans et al. (2012)              Male & female              N = 46 same sex twin pairs                              Vocalisation                               n/a                                     Results: Response to social isolation and vocalisation was
                                                            sheep                   GnRHa treated group (twin 1) vs.                        Response to social                                                                    significantly higher in females than males at all ages
                                                                                        untreated controls (twin 2)                            isolation                                                                       Conclusion: Development of responses to social isolation is sexually
                                                                                                                                            Tested at 8, 28 and                                                                   dimorphic and cortisol dependant. Treatment with a GnRH
                                                                                                                                               40 weeks                                                                           agonist results in changes in age-­dependent development of this
                                                                                                                                                                                                                                  social function
                3       Nuruddin et al.                  Male & female              N = 30 same sex twin pairs (14                          Test of spatial orientation Hippocampal gene                                       Results: GnRHa treatment was associated with significant changes
                           (2013)                           sheep                       female/16 male)                                     48 weeks of age                expression                                             within the hippocampus, of levels of expression of mRNA
                                                                                    GnRHa treated group (twin 1) vs.                                                                                                              transcripts known to be involved in endocrine signalling and
                                                                                        untreated controls (twin 2)                                                                                                               synaptic plasticity. Expression of 12 out of the 16 genes was
                                                                                                                                                                                                                                  altered in GnRHa treated sheep compared to controls. These
                                                                                                                                                                                                                                  changes were not related to performance on a spatial maze
                                                                                                                                                                                                                                  test. Although there were no significant effects of treatment
                                                                                                                                                                                                                                  on performance in spatial maze, in males, there was a tendency
                                                                                                                                                                                                                                  that T animals were slower in completing the spatial maze than
                                                                                                                                                                                                                                  the controls during every trial. The author speculate that treated
                                                                                                                                                                                                                                  males might have been less motivated than control males to
                                                                                                                                                                                                                                  complete the maze in fastest possible manner
                                                                                                                                                                                                                               Conclusion: GnRH1 mRNA expression in females might be more
                                                                                                                                                                                                                                  sensitive to GnRHa treatment
                4       Nuruddin et al.                  Male and                   41 brains of sheep from the                             n/a                                        MRI volumes                             Results: Highly significant GnRHa treatment effects were found in
                           (2013)                           female                      experiment described above                                                                     1. Total brain                             the volume of the right and left amygdala in treated animals, with
                                                            sheep                   17 treated (10 females, 7 males)                                                                   2. Amygdala                                larger amygdale in treated animals. Significant sex differences
                                                                                    24 controls (11 females, 13 males)                                                                 3. Hippocampus                             were found for total grey matter and right amygdala with larger
                                                                                                                                                                                                                                  volumes in males
                                                                                                                                                                                                                               Conclusions: The effects of GnRHa treatment on amygdala volumes
                                                                                                                                                                                                                                  indicate that increasing GnRH concentrations during puberty may
                                                                                                                                                                                                                                  have an impact on normal brain development in mammals
                5       Wojniusz et al.                  Male and                   N = 46 twin pairs                                       Spatial orientation maze                   n/a                                     Results: GnRHa treatment did not affect spatial maze performance.
                          (2013)                            female                  GnRHa treated group (twin 1) vs.                           task                                                                               No significant differences in traverse time between treated
                                                            Sheep                       untreated controls (twin 2)                         8 weeks                                                                               and untreated animals were observed at any time point prior
                                                                                                                                                                                                                                                                                                                                                        Case 2:22-cv-00184-LCB-CWB Document 560-4 Filed 05/27/24 Page 6 of 13




                                                                                                                                            28 weeks                                                                              to or following treatment. Adolescent females (48 weeks)
                                                                                                                                            48 weeks                                                                              outperformed the males in both groups
                                                                                                                                                                                                                               Conclsuions: Development of sex differences in spatial orientation is
                                                                                                                                                                                                                                                                                                                                                 | 5




                                                                                                                                                                                                                                  independent from exposure to pubertal hormones


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                                                                                                                                            Behavioural/cognitive                      Structural brain
                                                         Animal Model               Study design                                            domain assessed                            analyses                                Main finding

                6       Hough et al.                     Male Sheep                 Group 1. GnRH and testosterone                          Spatial maze task                          n/a                                     Results: Emotional reactivity was compromised by blockade of
                          (2017a)                                                      blocked n = 49                                       1. Traverse time                                                                      testosterone signalling, but was restored in the testosterone
                                                                                    Group 2. GnRH blocked, with                             2. Long-­term memory                                                                  replacement group. The blockade of GnRH signalling alone
                                                                                       testosterone replacement                             3. Emotional reactivity                                                               was associated with impaired retention of long-­term spatial
                                                                                       n = 22                                               8 weeks                                                                               memory and this effect was not restored with the replacement
                                                                                    Group 3: Controls n = 56                                27 weeks                                                                              of testosterone signalling. The GnRHa + T group required fewer
                                                                                                                                            41 weeks                                                                              training sessions than the GnRHa group
                                                                                                                                                                                                                               Conclusion: These results indicate that GnRH signalling is involved in
                                                                                                                                                                                                                                  the retention and recollection of spatial information, potentially
                                                                                                                                                                                                                                  via alterations to spatial reference memory. Therapeutic medical
                                                                                                                                                                                                                                  treatments using chronic GnRHa may have effects on this aspect
                                                                                                                                                                                                                                  of cognitive function
                7       Hough et al.                     Male Sheep (as             Group 1. GnRHa treated until                            Spatial memory task                        n/a                                     Results: The long-­term spatial memory performance of GnRHa-­
                          (2017b)                           above)                     44 weeks of age n = 25 (Twin                         (as above)                                                                            Recovery rams remained reduced (p < 0.05, 1.5-­fold slower) after
                                                                                       1)                                                   83 weeks                                                                              discontinuation of GnRHa, compared to controls
                                                                                    Group 2. Controls n = 30 (Twin 2)                       95 weeks                                                                           Conclusions: The time at which puberty normally occurs may
                                                                                                                                                                                                                                  represent a critical period of hippocampal plasticity. Perturbing
                                                                                                                                                                                                                                  normal hippocampal formation in this peripubertal period may
                                                                                                                                                                                                                                  also have long-­lasting effects on other brain areas and aspects of
                                                                                                                                                                                                                                  cognitive function
                8       Hough et al. (2019)              Male Sheep                 Group 1. GnRH and testosterone                          Preference for novel vs.                   n/a                                     Results: Specific suppression of testosterone during a developmental
                                                                                       blocked (n = 55)                                        familiar objects                                                                   window in late puberty may reduce emotional reactivity and
                                                                                    Group 2. GnRH blocked, with                             Approach/avoidance                                                                    hamper learning a flexible adjustment to environmental change
                                                                                       testosterone replacement                                behaviours                                                                      Conclusion: Disruption of either endogenous testosterone signalling
                                                                                       (n = 24)                                             Emotional reactivity                                                                  or a synergistic action between GnRH and testosterone
                                                                                    Group 3: Controls n = 60                                8 weeks                                                                               signalling, may delay maturation of cognitive processes (e.g.
                                                                                                                                            28 weeks                                                                              information processing) that affects the motivation of rams to
                                                                                                                                            46 weeks                                                                              approach and avoid objects
                9       Anacker et al.                   Male and                   Control vs. GnRA injected mice                          Locomotion                                 Brain immunohi­stoch­                   Results: Sex-­specific effects:
                           (2021)                           female                                                                          Social preference                             emistry                              Males: GnRHa treatment altered locomotion and social preference
                                                            mice                                                                            Hyponeophagia                                                                         and increased the corticosterone response to novelty exposure in
                                                                                                                                            Forced swim test                                                                      the male but not female mice, Females. Treatment was associated
                                                                                                                                                                                                                                  with increased hypnoneophagia and despair-­like behaviour and
                                                                                                                                                                                                                                  neural activity in the dentate gyrus in female mice without an
                                                                                                                                                                                                                                  effect in male mice.
                                                                                                                                                                                                                               No treatment effects were observed on measures of avoidance
                                                                                                                                                                                                                                  behaviour or contextual fear discrimination in either sex
                                                                                                                                                                                                                               Conclusion: GnRHa treatment is associated with sex-­specific effects
                                                                                                                                                                                                                                  on measures of social and affective behaviour, stress regulation
                                                                                                                                                                                                                                  and neural activity
                                                                                                                                                                                                                                                                                                                                                   Case 2:22-cv-00184-LCB-CWB Document 560-4 Filed 05/27/24 Page 7 of 13BAXENDALE




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                                                                                                                                                                                                                                                      16512227, 0, Downloaded from https://onlinelibrary.wiley.com/doi/10.1111/apa.17150 by University Of Massachusetts, Wiley Online Library on [06/03/2024]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
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                                                                                                   Results: Treated animals differed from controls in intracranial volume
                                                                                                                                                                            impacts are complex and often sex specific, consistent with the MRI




                              Conclusion: Delayed puberty and subordination stress had separable




                                                                                                      (control volume < treated volume) however, hippocampal volume
                                 outcomes may be mediated by distinct neuroplastic mechanisms
                              Imaging revealed stronger functional connectivity between the left
                                 affiliative than controls. They were less anxious and exhibited
                                                                                                                                                                            evidence of sex-­specific differences in neurodevelopment in human



                              Results: GnRHa treated monkeys were more submissive and less




                                 amygdala and left orbital frontal cortex in the treated group
                                                                                                                                                                            adolescence. 20 There is no evidence in the animal literature that




                                                                                                   Conclusion: There are region-­specific effects of Estradiol on
                                 effects, suggesting that the overlapping socioemotional
                                                                                                                                                                            these effects are reversible following discontinuation of treatment.


                                 less displacement activity in the human intruder task




                                                                                                      structural brain development during adolescence
                                                                                                                                                                            3.2 | Human studies

                                                                                                                                                                            The search strategy identified just five studies that have reported
                                                                                                                                                                            some aspect of neuropsychological function following the admin-
                                                                                                                                                                            istration of medications to suppress puberty in young people. Two
                                                                                                                                                                            studies reported the impact of treatment with a puberty blocker in
                                 compared to controls




                                                                                                      was larger in controls
                                                                                                                                                                            young people with precocious puberty (CPP) and three reported
                                                                                                                                                                            neuropsychological test performance in people treated for gender
                                                                                                                                                                            dysphoria. One of these studies was a single case study.
               Main finding




                                                                                                                                                                            3.3 | Central precocious puberty
                              Resting state MRI and




                                                                                                                                                                            In the only human study that established a baseline prior to treat-
                                                                                                                                                                            ment, Mul et al.43 examined the response to treatment with puberty
     Structural brain




                                                                                                   Measures of emotionality Structural MRI




                                                                                                                                                                            blockers on a number of psychosocial outcomes including the Child
                                 T1 images




                                                                                                                                                                            Behaviour Checklist and performance on the shortened version of
     analyses




                                                                                                                                                                            the Wechsler Intelligence Scales for Children in a group of 25 girls
                                                                                                                                                                            treated for early puberty. Three years after treatment commenced,
                                                                                                                                                                            the group as a whole had experienced a loss in both performance IQ
                              Indices of social rank and




                                                                                                   Response to acute stress
                              Responses to the human

                              Tested at 43–46 months
     Behavioural/cognitive




                                                                                                                                                                            and full scale IQ, with a decline of 7 points in the latter. While sta-
                                  social behaviour




                                                                                                                                                                            tistically significant at p < 0.01, the authors state that the decrease
     domain assessed




                                  intruder task




                                                                                                                                                                            in IQ was not ‘clinically relevant’, a conclusion repeated in a later
                                                                                                                                                                            citation of the study.44 While the average loss of IQ points was 7,
                                  of age




                                                                                                                                                                            it is noteworthy that at least one patient in this study experienced
                                                                                                                                                                            a significant loss of 15 points or more, since the highest IQ score in
                                                                                                                                                                            the group was 138 at baseline and this dropped to 123 following
                                                                                                                                                                            treatment.
                                                                                                                                                                               The Wechsler Intelligence Scales are well designed to measure
                                                                                                                                                                            the impact of treatments on IQ in children. The norms are very ro-
                              GnRHa treated n = 34




                                                                                                                                                                            bust and are provided for children at 3-­month intervals, from age
                                                                                                                                                                            6 to 17 years. Different abilities develop at different times and at
                                                                                                   GnRHa treated

                                                                                                   Controls n = 22
                              Controls n = 36
               Study design




                                                                                                                                                                            different rates but at any point during their development, a child's
                                                                                                                                                                            scores on the tests that comprise the IQ battery can be compared
                                                                                                   N = 23




                                                                                                                                                                            to that of their age-­matched peers. In order to maintain a stable IQ,
                                                                                                                                                                            the child will need to keep pace with the development of that seen
               Animal Model




                                                                                                                                                                            in their peers. Of course, some children are very able, others less
                                 Macaque
                                 Monkeys




                                                                                                      monkeys
                                                                                                      Macque




                                                                                                                                                                            so. But the key characteristic of IQ is that it should remain stable
                              Female




                                                                                                   Rhesus




                                                                                                                                                                            throughout a child's development. Regardless of whether an indi-
                                                                                                                                                                            vidual performs at the 10th, 50th or 90th percentile when they are
                                                                                                                                                                            8, they should continue to do so when they are 16. Any loss of IQ
                              Pincus et al. (2021)




                                                                                                                                                                            associated with treatment with puberty blockers indicates that the
                                                                                                   Godfrey et al.




                                                                                                                                                                            child's cognitive development is not keeping pace with that of his/
                                                                                                     (2023)




                                                                                                                                                                            her peers.
                                                                                                                                                                               The Galatzer et al.46 and Ehrhardt et al.47 studies did not report
                                                                                                                                                                            the impact of puberty blockers on IQ but rather reported the IQ of
                              10




                                                                                                   11




                                                                                                                                                                            girls with CPP. It is noteworthy that only three of the 12 girls in the
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Ehrhardt study with idiopathic precocious puberty had been treated           11-­year-­old treated for gender dysphoria (male to -­female). On
with Provera (medroxyprogesterone acetate). Galatzer et al. found            admission, at the age of 11 years and 10 months, the patient was
that the verbal IQ distribution in 52 girls with precocious puberty          assessed to have a global IQ of 80. Treatment with GnRHa was
was two or more times the expected theoretical percentile in the             instigated at age 11 years, 11 months. The patient was reassessed
above average area (greater than 110, 56.9% vs 25%), and five times          age 13 and 3 months, at which time, a loss of 9 IQ points had oc-
more in the very superior area (greater than 130, 10.1% vs 2.2%).            curred, and the IQ had dropped to 71. A loss of 15 points was
However, the treatment status of the sample is not reported, other           evident in working memory. At 14 years and 2 months, a loss of 10
than in the final paragraph of the discussion where the authors note         global IQ points and 9 points in working memory remained appar-
that ‘Another aspect that requires further delineation is the effect of      ent. The verbal comprehension index (a measure which depends
medical treatment of these patients. At present, it is common prac-          on the expansion of vocabulary and conceptual thinking in adoles-
tice to postpone physiologic development with the use of antiandro-          cence, for the standardised score to remain stable) deteriorated
gen or gonadotrophin-­releasing hormone analogues. The impact of             progressively over the follow-­up, falling from the initial baseline
these drugs on the intellectual and possibly emotional development           of 101, to 91 (age 13) and 86 (age 14), a loss of 15 points over
of girls with precocious puberty remains to be evaluated’. Galatzer          3 years.49 (See Figure 2).
et al. interpreted their findings as possible evidence of an effect of          In a cross-­s ectional design, Staphorsius et al. 50 compared the
sex hormones on brain development, especially on the left hemi-              performance of GnRH treated (8 male to female; 12 female to
sphere, during the prepubertal period.                                       male) and untreated transgender adolescents (10 male to female;
                          45
        Wojniusz et al.        compared the neuropsychological function of   10 female to male) on the Tower of London Test (a test of executive
15 girls with central precocious puberty (CPP) (mean age 10.4 years;         function tapping the ability to strategise). No baseline measure of
range 9.2–11.8) and age-­matched controls on a very comprehensive            function was taken. The subjects also completed four subscales of
battery of neuropsychological tests which yielded 44 scores of func-         the Wechsler Intelligence Scales (arithmetic, vocabulary picture
tion across multiple cognitive domains. All of the girls in the CPP          arrangement and block design) and tests of mental rotation and
group had been on GnRH analogue treatment for at least 6 months.             face recognition. Only IQ, and accuracy and timed scores from the
The authors found no statistically significant differences between           Tower of London Test are reported. The groups were not matched
the CCP group and controls on any measures with the exception of             for IQ, with control males functioning at a significantly higher
the Trail Making Number Sequencing Task score. Given that the au-            level than the suppressed male to female group. No results for the
thors did not control for multiple comparisons (over 40) and that the        tests of mental rotation or face recognition are reported (but are
groups did not differ on other tests of processing speed, the authors        promised in a later publication). While the groups did not differ
speculate that this finding is ‘accidental’. In their discussion, the au-    with respect to reaction time on the Tower of London Test, sup-
thors note that in contrast to previous reports of elevated verbal IQ        pressed male to females had significantly lower accuracy scores
scores and accelerated school performance in CPP girls (studies from         compared to the control groups. This pattern remained significant
Galatzer et al. and Ehrhardt et al.),46,47 the IQ in their CCP group was     after controlling for IQ. Despite this, the reaction time finding has
somewhat lower than the controls, although the difference was not            been subsequently been reported as evidence for no detrimental
statistically significant.                                                   effects on performance in citations in the subsequent literature 44
        Wojniusz et al. state ‘both groups (CPP and controls) showed very    and in policy documents. 51
                                                                        45
similar (my emphasis) scores with regard to cognitive performance’.
This conclusion was questioned by Hayes (2017) who noted that the
authors discussion of their findings minimised the substantial differ-
ence in IQ scores between the groups (7 points) by overemphasising
the lack of statistical significance in the small sample (p = 0.09) and
ignoring the clinical difference between someone functioning at the
55th centile and someone at the 34th centile.48



3.4 | GnRH analogues and transgender and gender
diverse young people

Three studies were identified that examined the neuropsycho-
logical impact of GnRH analogue treatments in transgender and
gender diverse young people. In a single case study, Schneider
et al. (2017) examined the impact of pubertal suppression on brain
white matter and (white matter fractional anisotropy) and cogni-             F I G U R E 2 Longitudinal IQ scores following pubertal
tive function (Wechsler Intelligence Scale for Children-­I V) in an          suppression in a single case study (adapted from Schneider et al.49).
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    Arnoldussen et al.52 reported the results of an assessment of          hormone following treatment with puberty blockers, 54 it is critical
IQ, before the commencement of GnRH analogue treatment in 72               that research designs utilise the narrow window before introducing
children and examined the relationship between this measure and            same sex hormone to assess impact. What impact does any delay
a highly simplified, dichotomised index of educational progress/           in cognitive development have on an individual's educational tra-
achievement (‘vocational educated’ vs. ‘higher vocational educated/        jectory and subsequent life opportunities given the critical educa-
academic educated’). Prior to treatment, the mean and standard de-         tional window in which these treatments are typically prescribed?
viation of the IQ score in the group was comparable to the general         Longitudinal studies are urgently needed to study the educational
population (mean = 100, standard deviation = 15). Forty per cent of        and vocational trajectories of people undergoing these treatments.
the eligible subjects declined to participate in the follow-­up. No con-      The importance of an adequate baseline prior to treatment when
clusions can be drawn from this study with respect to the impact of        assessing the impact of puberty blocking agents on neuropsycholog-
puberty suppression on the development of cognitive function.              ical function cannot be overstated given the multiple vulnerabilities
                                                                           associated with gender identity disorder. Many conditions which
                                                                           are likely to compromise cognitive function are overrepresented in
4   |   DISCUSSION                                                         this population.55,56 Neurodiversity is overrepresented in TGD peo-
                                                                           ple, who are three to six times more likely to have a diagnosis of
The synthesis of findings from multiple fields of study (neurode-          autism than their peers. 55 Attention deficit hyperactivity disorder
velopment, neuroimaging, neuroendocrinology) indicates an asso-            is also overrepresented in this group. In addition to increased rep-
ciation between GnRH expression and brain function and structure.          resentation of neurodiverse conditions, the rates of mental health
Despite the broad and multidisciplinary knowledge base which indi-         difficulties in this population are high, with adolescents seeking
cates disruption of GnRH expression is likely to have an impact on         gender-­affirming treatments presenting with psychiatric symptoms
cognitive function, and explicit calls in the literature for this to be    and disorders comparable to those seen among adolescent psychi-
                                        46
studied that date back three decades,        there have been no human      atric patients.56 All of these conditions are known to compromise
studies to date that have systematically explored the impact of these      neuropsychological function and future study designs must take this
treatments on neuropsychological function with an adequate base-           into consideration. Even without a psychiatric comorbidity, the psy-
line and follow-­up.                                                       chosocial stresses associated with living with gender dysphoria as
    While no means conclusive due to the poor quality of evidence,         a young person can be very significant and would be expected to
studies examining the impact of puberty suppression in young peo-          have a substantial impact on cognitive reserve. This would be con-
ple indicate a possible detrimental impact on IQ.43,48,49 These find-      sistent with the findings of Haraldsen57 who in a conference pre-
ings accord with the wider literature on GnRH expression and brain         sentation reported highly significant differences between gender
structure and function. Studies in mice, sheep and primates indicate       identity disorder patients and controls on measures of verbal and
an impact of GnRH suppression on behavioural analogues of cogni-           executive function with significantly atrophic hippocampal and cere-
tive function, effects that are often sex specific. While there is some    bellum tissue prior to any treatment with puberty-­blocking agents. A
evidence that indicates pubertal suppression may impact cognitive          recent study from Turkey reported significantly worse performance
function, there is no evidence to date to support the oft cited as-        on tests of response inhibition and verbal fluency in 22 adolescents
sertion that the effects of puberty blockers are fully reversible.51,53    with gender dysphoria compared to controls, with no group differ-
Indeed, the only study to date that has addressed this in sheep sug-       ences in set shifting. None of the patients in the gender dysphoria
gests that this is not the case.39                                         group had taken gender-­affirming treatment at the time of the as-
    Vague hints from poor quality studies are insufficient to allow        sessment, but levels of comorbid psychiatric disturbance were high
people considering these treatments to make an informed decision           with 72.7% having at least one psychiatric diagnosis.58 This is con-
regarding the possible impact on their neuropsychological function.        sistent with earlier findings from the same group indicating more
Critical questions remain unanswered regarding the nature, extent          disturbed behaviour related to executive function and social impair-
and permanence of any arrested development of cognitive function           ment in children with gender dysphoria compared to controls.59 The
that may be associated with pharmacological blocking of puberty.           impact of blocking puberty in a brain that may already be developing
If cognitive development ‘catches up’ following the discontinuation        in an atypical trajectory is unknown.
of puberty suppression, how long does this take and is the recovery           Subsequent follow-­up should monitor development not just
complete? Several animal studies indicate that some cognitive ef-          during and at the end of treatment, but to at least age 25, when
fects may be sex specific19,34,42 consistent with imaging studies in       neurodevelopment begins to complete.60 Scores from single tests,
adolescents which indicate different trajectories of neurodevelop-         in single domains tell us very little when they are presented and ex-
ment in males and females. 20 Natal sex must therefore be a critical       amined in isolation from the wider neuropsychological profile of the
variable of interest in future research designs. How does subsequent       patient. Given that the impact of pubertal suppression on cognitive
treatment with cross sex hormones influence neuropsychological             function is very likely to be governed to some extent by the puber-
development following puberty suppression? Given the very high             tal stage at which it is commenced, broader indices of abnormality
proportion of patients who proceed to treatment with cross sex             across a neuropsychological profile may be more illuminating than
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multiple individual comparisons between tests in specific cognitive       REFERENCES
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